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                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                             TYLER DIVISION

 REALTIME DATA, LLC d/b/a IXO                   )
                                                )
                  Plaintiff,                    )
                                                )
                          v.                    )   CASE NO. 06:10-CV-00493
                                                )
                                                )   Hon. Leonard Davis
 METROPCS TEXAS, LLC ET AL.,                    )
                                                )
                  Defendants.                   )
                                                )


           DEFENDANTS’ JOINT MOTION TO DISMISS PURSUANT TO
           FED. R. CIV. P. 12(B)(6) FOR FAILURE TO STATE A CLAIM
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 I.       INTRODUCTION

          Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendants MetroPCS

 Texas, LLC; MetroPCS Communications, Inc.; MetroPCS Wireless, Inc.; AT&T, Inc.; AT&T

 Mobility LLC; Cellco Partnership d/b/a Verizon Wireless; Leap Wireless International, Inc.1;

 Cricket Communications, Inc.; Sprint Nextel Corp.2; and T-Mobile USA, Inc. (collectively

 “Defendants”) respectfully move to dismiss Realtime Data, LLC’s (“Realtime’s”) Complaint

 (the “Complaint”) for failure to state a claim.

          Realtime’s Complaint fails to identify even the most basic facts about its claim, let alone

 any accused product or service that is allegedly subject to Realtime’s infringement allegations.

 Instead, Realtime’s Complaint relies upon boilerplate generalities and legal conclusions to allege

 the existence of certain patents and to aver infringement by Defendants. Indeed, while each of

 the Defendants operates its own vast network using multiple, different technologies, the

 Complaint accuses all of the Defendants in the very same paragraph of infringing each of the

 eight patents-in-suit by “using data compression and acceleration within their data network for

 downlink transmission,” as if Defendants jointly operated a single network and without regard

 for the significant technological differences in each Defendant’s individual network. (see

 Complaint ¶¶ 21, 25, 29, 33, 37, 41, 45, 49) (emphasis added).

          These are precisely the type of vague and conclusory allegations that this Court rejected

 in several other actions brought by this plaintiff. In three separate litigations, this Court


 1 Leap Wireless International (“Leap”) is a holding company, not an operating entity. As such, Leap preserves and
 does not waive any jurisdictional objections by filing this motion and preserves all rights to challenge personal
 jurisdiction over it.

 2 Sprint is a holding company, not an operating entity. As such, Sprint preserves and does not waive any
 jurisdictional objections by filing this motion and preserves all rights to challenge personal jurisdiction over it.
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 previously granted motions to dismiss brought by multiple defendants on the same grounds

 sought in the instant motion, based on the Supreme Court decisions in Bell Atlantic Corp. v.

 Twombly and Ashcroft v. Iqbal. As this Court held in those other cases, Twombly and Iqbal

 require that a complaint allege sufficient facts to establish a plausible claim and that recitations

 of bare, conclusory allegations are insufficient to state a claim under the Federal Rules even in

 the context of patent lawsuits in which more detailed disclosures are provided after the initial

 pleading stage. Despite multiple admonishments from the Court, Realtime has yet again failed to

 comply with its most fundamental obligations for proper pleading under the Federal Rules of

 Civil Procedure. As such, in addition to requesting that the Court dismiss Realtime’s Complaint,

 Defendants also seek their costs and fees for bringing the instant motion.

        Defendants do not contend that Realtime is required to disclose each and every detail

 regarding its infringement contentions and do not suggest that the Complaint must contain the

 level of information required by Local Patent Rule 3-1. However, given the breadth and

 technological complexities of each Defendant’s network, of each Defendant’s product and

 service offerings, and of each of the eight patents-in-suit, Realtime should be required at least to

 sufficiently identify which of Defendants’ many products and/or services allegedly infringe its

 patents, just as it was required to do in its previous litigations. Indeed, since Realtime responded

 to this Court’s previous dismissals by specifically identifying accused products and services in

 its amended complaints, Realtime’s failure even to attempt to identify any accused products and

 services in its complaint in this case is inexplicable and inexcusable. If Realtime complied with

 its pre-filing due diligence obligations, it should already know the accused products and/or

 services and should have had no problem meeting the basic pleading requirements previously

 laid out by this Court (and others). Without any hint of the services and/or products being




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 accused of infringement, Defendants are unable to properly investigate Realtime’s claims,

 identify relevant individuals and documents, or frame an appropriate response to the Complaint

 without a risk of prejudice. The Court should dismiss the Complaint and, at a minimum, award

 Defendants’ costs.



 II.    BACKGROUND

        Realtime filed its Complaint (the “Complaint”) on September 23, 2010, against

 Defendants. Realtime’s Complaint alleges, in entirely conclusory fashion, that all 10 defendants

 infringe at least one claim of eight patents purportedly owned by Realtime:

 U.S. Patent Nos. 6,601,104; 6,604,158; 7,321,937; 7,395,345; and 7,415,530 all entitled “System

 and Methods for Accelerated Data Storage and Retrieval;” U.S. Patent No. 7,161,506 entitled

 “Systems and Methods for Data Compression Such as Content Dependent Data Compression;”

 U.S. Patent No. 7,352,300 entitled “Data Compression Systems and Methods;” and U.S. Patent

 No. 7,378,992 entitled “Content Independent Data Compression Method and System”

 (collectively “Patents-in-Suit”).

        For each Patent-in-Suit, the Complaint has a single count alleging infringement

 collectively against all defendants. For example, the First Cause of Action for infringement of

 U.S. Patent No. 6,601,104 reads in relevant part:


             [Defendants] have infringed, and are continuing to infringe, one or more
             claims of the ‘104 Patent in violation of 35 U.S.C. § 271, including but
             not limited to exemplary claim 25 of the ‘104 Patent by using data
             compression and acceleration within their data network for downlink
             data transmission.
 Dkt. No. 1 (Compl.) at ¶ 21 (emphasis added).

        The counts for the remaining seven patents are identical except for the patent number and



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 claim number. See id. at ¶¶ 25, 29, 33, 37, 41, 45, and 49. Apart from its superficial declaration

 of infringement, nowhere in the Complaint does Realtime identify any product or service that is

 allegedly performing this “data compression and acceleration” or even identify where in

 Defendants’ vast, technologically complex networks these acts allegedly occur beyond the “data

 network for downlink data transmission.” Indeed, Realtime provides no facts supporting its

 allegations, relying instead on identical generic language for each defendant. See id. at ¶¶ 20-51.

         Realtime has used this same tactic – unsuccessfully – in three prior actions before this

 Court.3 In all three litigations, Realtime alleged the same type of vague conclusory allegations

 of infringement, and multiple defendants in each litigation moved to dismiss Realtime’s claims

 under Rule 12(b)(6) of the Federal Rules of Civil Procedure. In each case, this Court granted

 defendants’ motion to dismiss Realtime’s claims because, e.g., “[t]he Amended Complaint, in its

 current form, fails to inform Defendants as to what they must defend.” See Exhibit 1 at 7

 (Realtime Data, LLC v. Morgan Stanley et al. (Civil Action No. 6:09-cv-00326-LED), Report

 and Recommendation of U.S. Magistrate Judge, Dkt. No. 168).4 Yet again, Realtime has wasted

 both the Court’s and the parties’ time by failing to comply with the basic pleading standards

 required by the Federal Rules of Civil Procedure and by the Supreme Court’s interpretation of

 them. This Court should dismiss Realtime’s Complaint and award Defendants their costs and

 fees for bringing this motion.




 3 Realtime made these same types of vague allegations against multiple defendants in three other complaints filed
 in this Court: Realtime Data, LLC v. Morgan Stanley et al. (Civil Action No. 6:09-cv-00326-LED), Realtime Data,
 LLC v. CME Group, Inc., et al. (Civil Action No. 6:09-cv-00327-LED), and Realtime Data, LLC v. Thomson
 Reuters et al. (Civil Action No. 6:09-cv-00333-LED).

 4 The Magistrate Judge’s recommendations with respect to the Morgan Stanley defendants’ motion to dismiss under
 Rule 12(b)(6) was later adopted by this Court. See Realtime Data, LLC v. Morgan Stanley et al. (Civil Action No.
 6:09-cv-00326-LED), Order, Dkt. No. 191.



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 III.   REALTIME’S COMPLAINT SHOULD BE DISMISSED BECAUSE IT FAILS
        TO IDENTIFY ANY PRODUCT, SERVICE, OR SPECIFIC ACTIVITY
        ALLEGEDLY SUBJECT TO REALTIME’S CLAIMS.

        A.      As the Supreme Court Clarified in Twombly and Iqbal, Rule 8
                Requires Realtime To Plead Specific Facts To State A Claim For
                Relief That Is Plausible On Its Face.

        Dismissal under Fed. R. Civ. P. 12(b)(6) is appropriate when a plaintiff fails to satisfy the

 pleading requirements of Fed. R. Civ. P. 8(a)(2), which call for a “short and plain statement of

 the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). While it does

 not require pleading with particularity, Rule 8(a)(2) does require that the accused infringer be

 given “fair notice of what the . . . claim is and the grounds upon which it rests.” Bell Atlantic

 Corp. v. Twombly, 550 U.S. 544, 555-56 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47

 (1957)).

        Landmark decisions by the Supreme Court in Twombly and Iqbal recently clarified the

 standard by which a plaintiff must set forth its claim and ended the prior practice of pleading

 boilerplate and conclusory allegations. The Supreme Court rejected its previous pronouncement

 that a complaint could not be dismissed unless “it appears beyond doubt that the plaintiff can

 prove no set of facts in support of his claim which would entitle him to relief.” Id. at 561-63.

 Instead, to survive a motion to dismiss, a plaintiff must plead facts sufficient “to state a claim to

 relief that is plausible on its face.” Id. at 570 (emphasis added). According to the Supreme Court

 in Twombly:

        Without some factual allegation in the complaint, it is hard to see how a claimant could
        satisfy the requirement of providing not only ‘fair notice’ of the nature of the claim, but
        also ‘grounds’ on which the claim rests . . . Rule 8(a) “contemplate[s] the statement of
        circumstances, occurrences, and events in support of the claim presented’ and does not
        authorize a pleader’s ‘bare averment that he wants relief and is entitled to it.”

 Id. at 555 n.3 (citing 5 Wright & Miller, Federal Practice and Procedure § 1202, pp. 94 & 95




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 (3d ed. 2004)).

        Just last year, the Supreme Court in Iqbal made clear that the plausibility standard put

 forth in Twombly applies in all civil actions. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1953 (2009).

 The Supreme Court re-emphasized in Iqbal that “only a complaint that states a plausible claim

 for relief survives a motion to dismiss.” Id. at 1950. To comply with Rule 8, a plaintiff must

 therefore plead “more than an unadorned, the defendant-unlawfully-harmed-me accusation.” Id.

 at 1949. “Threadbare recitals of the elements of a cause of action, supported by mere conclusory

 statements, do not suffice.” Id. A pleading that contains mere “labels and conclusions” or “a

 formulaic recitation of the elements of a cause of action will not do.” Id. (quoting Twombly, 550

 U.S. at 555).


        B.         Realtime’s Complaint Fails To Comply With The Rule 8 Standard Set
                   Forth In Twombly And Iqbal.

        Consistent with the standard of Twombly and Iqbal, numerous courts – including this

 Court in cases involving this plaintiff – have dismissed patent infringement complaints when

 faced with vague accusations similar to those found in Realtime’s Complaint here. See Fifth

 Market v. CME Group, Inc., No. Civ. A. 08-520 GMS (D. Del. May 14, 2009) (dismissing a

 complaint for failing to provide fair notice of infringement because it did not identify an

 infringing product or method); In re Papst Licensing GMBH & Co. KG Litigation, 602 F. Supp.

 2d 17, 19-20 (D. D.C. 2009) (holding that allegation of “[u]pon information and belief, the

 [defendant] made, used, sold or offered to sell . . . digital cameras which infringe the Patents in

 Suit” was insufficient, because it “fail[ed] to include any facts in support of [the] bald allegation”

 of infringement); see also Ondeo Nalco Co. v. EKA Chems., Inc., No. Civ. A. 01-537-SLR, 2002

 WL 1458853, at *1 n. 2-3 (D. Del. June 10, 2002) (finding plaintiff’s allegation of defendant’s



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 infringement by “selling its products, including the 8692 product” to be too vague to support a

 claim, except as to the specific accusation against the 8692 product). As these cases

 demonstrate, under the Rule 8 standard as explained in Twombly and Iqbal, Realtime was

 required to plead more than just mere boilerplate language alleging infringement, and at the very

 least, must identify the accused product or a specific activity.

         Nonetheless, Realtime’s Complaint fails to plead any facts sufficient to provide fair or

 adequate notice as to what Realtime’s alleged claim of infringement is and the grounds upon

 which it rests. For example, Realtime does not identify a single allegedly infringing product,

 service, or any specific activity upon which Defendants can base their defense. See Ricoh Co. v.

 Asustek Computer, Inc., 481 F. Supp. 2d 954, 959 (W.D. Wis. 2007) (“[A] plaintiff must provide

 notice of its claim so that the other side may prepare a defense. In the context of alleged patent

 infringement, this means at least that the plaintiff must tell the defendant which products

 allegedly infringe the plaintiff’s patent.”) (emphasis added).

         Instead, Realtime relies upon the same conclusory infringement allegation for all 10

 defendants in this litigation, and its Complaint resorts to bald allegations describing the non-

 specific activity of “using data acceleration and compression within their data network for

 downlink data transmission.” Complaint at ¶ 21. Such a description provides no specific

 information to Defendants as to what products, services, or activities Realtime’s allegations

 might encompass. Realtime’s Complaint does not include facts sufficient to state a claim to

 relief that is plausible on its face, and it is thus insufficient under the Rule 8 standard set forth by

 the Supreme Court in Twombly and Iqbal.

         Indeed, Realtime’s efforts fall far short of even the most liberal reading of Rule 8(a)(2)’s

 requirements. For example, in Gen-Probe, Inc. v. Amoco Corp., Inc., 926 F. Supp. 948 (S.D.




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 Cal. 1996), the plaintiff’s complaint alleged infringement “by making, using, selling and/or

 offering for sale products and/or kits without the authority of [the plaintiff].” Id. at 960 n.19.

 The court, prior to the guidance contained in Twombly and Iqbal, stated that “[f]iling a patent

 infringement action pointing vaguely to ‘products and/or kits’ . . . does not provide adequate

 notice as required by the Rules. . . .” Id. at 962 (quoting Sutliff, Inc. v. Donovan Cos., Inc., 727

 F.2d 648, 654 (7th Cir. 1984)). “Even under liberal notice pleading, the plaintiff must provide

 facts that ‘outline or adumbrate’ a viable claim for relief, not mere boilerplate sketching out the

 elements of a cause of action.” Id. at 961. As with the plaintiff’s generic reference to “products

 and/or kits” in the Gen-Probe case, Realtime’s vague and generic reference to “using data

 acceleration and compression within their data network for downlink data transmission” in its

 Complaint does not adequately identify the accused product or service and is thus insufficient

 under Rule 8.

        Meeting the Rule 8 pleading requirements should not have been hard for Realtime.

 Assuming it complied with Fed. R. Civ. P. 11, Realtime must have already conducted an

 adequate pre-filing investigation to understand how Defendants are supposedly liable for

 infringement. See Judin v. U.S., 110 F.3d 780, 784 (Fed. Cir. 1997) (failure to conduct pre-filing

 investigation to compare products accused of infringement with claims of a patent is

 sanctionable). In the patent infringement context, Rule 11 requires that a plaintiff “at a bare

 minimum, apply the claims of each and every patent that is being brought into the lawsuit to an

 accused device and conclude that there is a reasonable basis for a finding of infringement of at

 least one claim of each patent so asserted.” View Eng’g Inc. v. Robotic Vision Sys., Inc., 208

 F.3d 981, 986 (Fed. Cir. 2000) (emphasis added). Consequently, “[i]f challenged, a patent

 holder bringing an infringement claim must be able to demonstrate to the court and the alleged




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 infringer exactly why it believed before filing suit that it had a reasonable chance of proving

 infringement.” Classen Immunotherapies, Inc. v. Biogen IDEC, 381 F. Supp. 2d 452, 457 (D.

 Md. 2005) (citing View Eng’g, 208 F.3d at 986).

        If, for example, “a plaintiff cannot describe with some specificity the product he claims

 infringes his patent, there is reason to question whether such a certification [of Rule 11

 compliance] is true.” Bay Indus. Inc. v. Tru-Arx Mfg., LLC, Civ. No. 06-1010, 2006 WL

 3469599, *2 (E.D. Wis. Nov. 29, 2006). Here, Realtime presumably has identified accused

 products or services to which it compared its patent claims, and thus satisfied itself in good faith

 that its Complaint has a reasonable basis for finding infringement. Assuming that is the case,

 Realtime should be able readily to provide the requisite factual basis for its claims by identifying

 Defendants’ allegedly infringing products or services, and Realtime’s failure to do so can only be

 part of the same tactical shell game Realtime has played in previous actions before this Court.


        C.      Earlier Decisions On Pleading Standards Within The Eastern District
                of Texas Have Been Superseded By Iqbal And Are Factually
                Distinguishable.

        Although there have been some decisions in the Eastern District of Texas subsequent to

 Twombly finding patent infringement complaints satisfactory, those decisions issued prior to the

 Supreme Court’s decision in Iqbal, which clarified that Twombly’s plausibility standard applies

 in all civil actions. See Iqbal, 129 S. Ct. at 1953. Notably, these subsequent decisions did not

 prevent this Court from dismissing Realtime’s insufficient pleadings in three previous cases. In

 fact, those cases are distinguishable from the facts here. For example, in FotoMedia Tech, Judge

 Everingham held that a patent infringement complaint met the requirements of Rule 8 when it

 identified the accused products by identifying the Uniform Resource Locators (“URLs”) of the

 allegedly infringing websites. See FotoMedia Tech., LLC v. AOL, No. 2:07-cv-255, 2008 WL


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 4135906, at *1-2 (E.D. Tex. Aug. 29, 2008).

        Similarly, in PA Advisors, Judge Folsom found a complaint satisfactory where the

 plaintiff identified 10 different products, identified which websites those products were

 implemented on, and described how they infringed. PA Advisors, LLC v. Google Inc., No. 2:07-

 cv-480, 2008 U.S. Dist. LEXIS 71285, at *19-20 (E.D. Tex. Aug, 7, 2008). Unlike the

 complaints in those cases, however, Realtime’s Complaint does not identify any accused product

 or service for any of the 10 named defendants. This Court’s decision in Teirstein also predated

 the Supreme Court’s Iqbal decision and is distinguishable since it dealt with the pleading

 standard for a defendant’s counterclaims rather than the pleading standard for a plaintiff alleging

 infringement. Teirstein v. AGA Med. Corp., No. 6:08-cv-14, 2009 WL 704138 at *3 (E.D. Tex.

 March 16, 2009).

        The courts in the FotoMedia Tech, PA Advisors, and Teirstein cases also relied on the

 Federal Circuit’s decision in McZeal v. Sprint Nextel Corp., 501 F.3d 1354, 1356 (Fed. Cir.

 2007). There, the Federal Circuit, applying 5th Circuit law, found a pro se plaintiff’s complaint

 met the requirements of Rule 8(a)(2) because it “contain[ed] enough detail to allow the

 defendants to answer and thus meets the notice pleading required.” Id. at 1357. However, the

 McZeal decision not only predates the Supreme Court’s decision in Iqbal, but is inapplicable

 here, because the court’s ruling was based on the “less demanding standard” afforded a pro se

 plaintiff’s pleadings when challenged by a defendant’s 12(b)(6) motion. Id. at 1356. Moreover,

 unlike Realtime’s Complaint, the pro se plaintiff in McZeal still managed to identify an allegedly

 infringing product by model number. Id. at 1356-57.

        The Federal Circuit’s decision in McZeal is instructive to the extent the court identified

 Fed. R. Civ. P. Form 16 (since renumbered to Form 18) as a sample of a satisfactory complaint.




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 Form 18 includes, among other things, “a statement that defendant has been infringing the patent

 ‘by making, selling, and using [the specific device] embodying the patent. . . .’” Id. at 1357

 (alteration in original). Here, Realtime’s Complaint fails to meet even the bare minimum

 requirements of this form, because Realtime has not identified any “device” that allegedly

 infringes the Patents-in-Suit.5 Because Realtime’s Complaint does not include facts that rise to

 the specificity sufficient to state a plausible claim to relief, it is inadequate under the Rule 8

 standard set forth by the Supreme Court, and thus should be dismissed under Rule 12(b)(6).

          Indeed, as this Court previously held, Realtime is required as plaintiff to satisfy the

 plausibility standard of Twombly and Iqbal now at the pleading stage − not later during discovery

 − as Rule 8 “does not unlock the doors of discovery for a plaintiff armed with nothing more than

 conclusions.” Iqbal, 129 S. Ct. at 1949; see also DM Research, Inc. v. College of Am.

 Pathologists, 170 F.3d 53, 5556 (1st Cir. 1999) (“Conclusory allegations in a complaint, if they

 stand alone, are a danger sign that the plaintiff is engaged in a fishing expedition.”). It is

 important to resolve such questions early in litigation, such as through Rule 12(b)(6) motion

 practice, rather than simply allowing inadequate allegations to open the door to expansive

 discovery. As the Supreme Court stated in Twombly, “[t]his basic deficiency should . . . be

 exposed at the point of minimum expenditure of time and money by the parties and the court. . . .

 [A] district court must retain the power to insist upon some specificity in pleading before


 5 Form 18 lists, as an example, “electric motors” as the accused device. Courts have noted, however, that such a
 generic reference may not be enough where the factual circumstances are more complex. See Hewlett-Packard Co.
 v. Intergraph Corp., No. C03-2517, 2003 WL 23884794, at *1 (N.D. Cal. Sept. 6, 2003) (“Form [18] simply does
 not address a factual scenario of this sort. Not only is the example in Form [18] limited to a single ‘type’ of product
 (i.e., electric motors) there is no indication as to the number of different electric motors the hypothetical defendant
 made, sold, or used.”); see also In re Papst Licensing GmbH Patent Litig., No. MDL 1298, 2001 WL 179926, *1
 (E.D. La. Feb. 22, 2001) (“It is apparent, however, that the number of patents and products in the case before me are
 far greater than those contemplated in the [Form 18] sample complaint, which would justify a request for greater
 specificity.”). It is also worth noting that Form 18 was last updated before the Supreme Court’s Iqbal decision. See
 Colida v. Nokia, Inc., 2009 WL 3172724, at *1 n.2 (Fed. Cir. Oct. 6, 2009) (noting that Form 18 was last updated
 before the Supreme Court’s Iqbal decision).



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 allowing a potentially massive factual controversy to proceed.” Twombly, 550 U.S. at 558

 (citations and internal quotations omitted).

         Disclosure of the facts sufficient to state a plausible claim, including, at a minimum, the

 identification of the accused products and/or services, cannot wait until discovery. While this

 Court has previously declined to established a blanket rule requiring identification of specific

 accused products in all cases,6 examination of Realtime’s allegations in context reveals the

 insufficiency of Realtime’s Complaint. As it stands now, Defendants cannot realistically be

 expected to frame responsive pleadings or prepare their defense to Realtime’s deficient

 Complaint without risk of substantial prejudice. Lacking any identification by Realtime of the

 products or services that supposedly infringe, Defendants are understandably unsure specifically

 where and from whom to seek information regarding their potential defense against this action.

 Given that they operate vast (in some cases, nationwide) networks comprised of numerous,

 complex technologies and systems and that they offer a wide range of data products and services,

 Defendants cannot realistically respond to the generic allegations in Realtime’s Complaint. In

 sum, discovery is not an adequate substitute for a properly-pled complaint and consequently

 Realtime’s Complaint should be dismissed.


 IV.     AS THIS COURT HAS DISMISSED REALTIME’S COMPLAINT IN
         THREE SEPARATE LITIGATIONS FOR THE SAME IMPROPER
         PLEADING, REALTIME SHOULD PAY DEFENDANTS’ COSTS AND
         FEES FOR BRINGING THIS MOTION.
         This Court has previously admonished Realtime by dismissing its complaints in three

 different litigations in response to motions to dismiss by multiple defendants. Once again,

 Realtime has used this same improper tactic – pleading vague and conclusory allegations – in the


 6 See Realtime Data, LLC v. Morgan Stanley et al. (Civil Action No. 6:09-cv-00326-LED), Order, Dkt. No. 191, at
 1-2.



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 instant litigation. Realtime cannot dispute that it is fully aware of the requirements for proper

 pleading, as this Court has found Realtime’s pleadings to be improper on three separate

 occasions. Realtime has wasted both the Court’s and the parties’ time by failing to properly

 plead its allegations, and forced Defendants to file the instant motion. As such, Defendants

 respectfully request that the Court award Defendants, at a minimum, their costs and fees for

 bringing this motion.

 V.     CONCLUSION
        For the foregoing reasons, this Court should dismiss Realtime’s Complaint against

 Defendants pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, and award

 Defendants their costs and fees for bringing this motion as well as any other relief the Court

 deems just and proper.


                                               Respectfully submitted,


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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that the foregoing document was filed electronically in
 compliance with Local Rule CV-5(a). As such, this document was served on all counsel who
 have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R. Civ. P.
 5(d) and Local Rule CV-5(e), all other counsel of record not deemed to have consented to
 electronic service were served with a true and correct copy of the foregoing by U.S. mail or
 facsimile transmission, on this the 22nd day of November, 2010.


                                                    /s/Melissa Richards Smith
                                                    Melissa Richards Smith
